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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO

                                                )
                                                )
 JAY CONNOR, individually and on behalf         )          Case No. 1:24-cv-02286
 of all others similarly situated,              )
                                                )
                         Plaintiff,             )
                                                )
        v.                                      )
                                                ) Response to Plaintiff’s Update/Supplement
 SERVICEQUIK INC. d/b/a/ ZING                   )    to Motion for Anti-Suit Injunction
 BUSINESS MANAGEMENT                            )
 SOFTWARE                                       )
                                                )
                         Defendant.             )
                                                )
                                                )
                                                )
                                                )

       On November 17th, 2024, the Plaintiff filed an Update/Supplement to its motion for anti-

suit injunction. Dkt. No. 23. Therein, Plaintiff indicates that the South Carolina Court has set a

hearing on “Defendant’s Motion for Summary Judgment and on the Motion to Vacate the

Voluntary Dismissal.” Id.

       The Defendant’s motion to reconsider its prior order dismissing the State Court case has

already been granted, and thus the December 10th hearing pertains to Plaintiff’s motion for

dismissal and Defendant’s motion for summary judgment. See Dkt. No. 21-1, page 2.



                                              Respectfully submitted,

                                              /s/ Daniel Summa
                                              _________________________________
                                              Daniel Summa
                                              Summa Law Firm, LLC
                                              3 Broad Street, #301
                                              Charleston, SC 29401


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                                  843-277-9665 office
                                  843-806-2920 fax
                                  daniel@summalawfirm.com

                                  Attorney for Defendant

November 17, 2024
Charleston, SC




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